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                         UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                 HOUSTON DIVISION                                            ENTERED
                                                                                             06/13/2019
IN RE:                                          §
MICHAEL VEACH; dba GLOBAL SLEEP                 §      CASE NO: 19-31275
TECHNOLOGIES; dba GLOBAL SLEEP                  §
HEADQUARTERS, LP; dba ARM                       §
ASSOCIATES, LP; dba EMBLEM                      §
RESOURCES, LLC; dba EMBLEM GROUP,               §
LLC, et al                                      §
        Debtor(s)                               §
                                                §      CHAPTER 7

                    ORDER DENYING APPLICATION TO EMPLOY

       This matter is before the Court on the Application to Employ (ECF No. 31) filed by the

Chapter 7 Trustee. The certificate of service indicates the instant application was served on all

creditors. However, it does not specify who was actually served. Certificates of service must

specify who was served and the method of service.

       THEREFORE, IT IS ORDERED that the Application to Employ is denied without

prejudice.


       SIGNED: 06/13/2019.


                                                ___________________________________
                                                Jeffrey P. Norman
                                                United States Bankruptcy Judge




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